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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )        CRIMINAL ACTION NO.
                                   )          2:10cr186-MHT
MILTON E. McGREGOR,                )                (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH, and           )
JARRELL W. WALKER, JR.             )


                                ORDER

    It is ORDERED that, beginning February 28, 2012, at

8:00 a.m., the jurors in this case shall be sequestered and

shall thereafter be kept in the custody of the United

States Marshals Service for the duration of this trial or

until further notice from this court.

    DONE, this the 27th day of February, 2012.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
